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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
IN RE APPLICATION OF USA PURSUANT         )                  ML No: 1:21-ml-00942
TO 18 U.S.C. § 3512 FOR ORDER FOR         )
COMMISSIONER’S APPOINTMENT FOR            )
FRAUD INVESTIGATION                       )
__________________________________________)

Reference:     DOJ Ref. # CRM-182-78624

              APPLICATION OF THE UNITED STATES FOR AN ORDER
       FOR A COMMISSIONER’S APPOINTMENT PURSUANT TO 18 U.S.C. § 3512

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Erica Laster, Trial Attorney, Office of International Affairs,

Criminal Division, U.S. Department of Justice (or a substitute or successor subsequently

designated by the Office of International Affairs), as a commissioner to collect evidence and to

take such other action as is necessary to execute this and any subsequent, supplemental requests

for assistance with the above-captioned criminal matter from Portugal. In support of this

application, the United States asserts:

                                          RELEVANT FACTS

       1.      The Competent Authority of Portugal, the Prosecutor General’s Office, submitted

a request for assistance (the Request) to the United States, pursuant to the Instrument Between

the United States of America and Portugal as contemplated by Article 3(3) of the Agreement on

Mutual Legal Assistance Between the United States of America and the European Union, signed

25 June 2003, U.S.-Port., July 14, 2005, S. TREATY DOC. NO. 109-13 (2006) (the Treaty).
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        2.      As stated in the Request, the Public Prosecutor’s Office of the Judicial District of

Leiria, in Portugal, is investigating Maria Filipa Andrade Almeida, Helder Antonio Alves

Lourenco, and unknown subjects for fraud, which occurred on or about February 2, 2021 in

violation of the criminal laws of Portugal, specifically, Article 221 (1)(5)(a) of the Portuguese

Criminal Code. Under the Treaty, the United States is obligated to assist in response to the

Request.

        3.      According to Portuguese authorities, on February 7, 2020, 21 transfers, totaling

38,000 EUR (approximately 44,086 USD) were made using several different bank cards. The bank

cards were issued in the United States and the United Kingdom and allegedly held in the name of

Mark Stephan. These transactions were reported by a Portuguese Bank to Portuguese authorities as

being potentially fraudulent after the banks controls and procedures for detecting money laundering

and the financing of terrorism reported inconsistencies in the transfers. All of the transfers appeared

to be payments for purchases made at bars located in Lisbon, Portugal. However, all of the

transactions were made within a few minutes of each other over a two-hour period.

        4.      Six of the cards used in the transactions were issued by banks located in the

United States. On February 7, 2020, a transfer of 5,700 EUR (approximately 6,615 USD) was

made to a bar in Lisbon, Portugal from Wells Fargo card number XXXX-XXXX-XXXX-6715 at

3:57am. On February 7, 2020, an unknown subject attempted to transfer 2,500 EUR

(approximately 2,901 USD) for payment to a bar in Lisbon, Portugal from Wells Fargo card

number XXXX-XXXX-XXXX-6715 at 5:22am. The transfer was unsuccessful as the bank

declined the transaction. On February 7, 2020, a transfer of 1,500 EUR (approximately 1,740

USD) was made to a bar in Lisbon, Portugal from Wells Fargo card number XXXX-XXXX-

XXXX-6715 at 5:40am. On February 7, 2020, a transfer of 1,500 EUR (approximately 1,740

USD) was made to a bar in Lisbon, Portugal from Wells Fargo card number XXXX-XXXX-
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XXXX-6715 at 5:46am. On February 7, 2020, a transfer of 1,500 EUR (approximately 1,740

USD) was made to a bar in Lisbon, Portugal from Wells Fargo card number XXXX-XXXX-

XXXX-6715 at 5:55am.

       5.      On February 7, 2020, a transfer of 5,700 EUR (approximately 6,615 USD) was

made to a bar in Lisbon, Portugal from Citibank account number XXXX-XXXX-XXXX-3071 at

3:58am. On February 7, 2020, a transfer of 1,500 EUR (approximately 1,740 USD) was made to

a bar in Lisbon, Portugal from Citibank account number XXXX-XXXX-XXXX-3071 at 5:39am.

On February 7, 2020, a transfer of 1,500 EUR (approximately 1,740 USD) was made to a bar in

Lisbon, Portugal from Citibank account number XXXX-XXXX-XXXX-3071 at 5:41am. On

February 7, 2020, a transfer of 1,500 EUR (approximately 1,740 USD) was made to a bar in

Lisbon, Portugal from Citibank account number XXXX-XXXX-XXXX-3071 at 5:43am.

       6.      On February 7, 2020, an unknown subject attempted to transfer of 5,700 EUR

(approximately 6,615 USD) to a bar in Lisbon, Portugal from Chase account number XXXX-

XXXX-XXXX-4214 at 3:59am. The transfer was unsuccessful as the bank declined the

transaction. On February 7, 2020, a transfer of 600 EUR (approximately 696 USD) was made to

a bar in Lisbon, Portugal from Chase account number XXXX-XXXX-XXXX-4214 at 4:00am.

On February 7, 2020, a transfer of 400 EUR (approximately 464 USD) was made to a bar in

Lisbon, Portugal from Chase account number XXXX-XXXX-XXXX-4214 at 4:01am. On

February 7, 2020, a transfer of 200 EUR (approximately 232 USD) was made to a bar in Lisbon,

Portugal from Chase account number XXXX-XXXX-XXXX-4214 at 4:01am. On February 7,

2020, a transfer of 1,500 EUR (approximately 1,740 USD) was made to a bar in Lisbon, Portugal

from Chase account number XXXX-XXXX-XXXX-4214 at 5:38am. On February 7, 2020, a

transfer of 1,500 EUR (approximately 1,740 USD) was made to a bar in Lisbon, Portugal from
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Chase account number XXXX-XXXX-XXXX-4214 at 5:41am.



       7.      On February 7, 2020, a transfer of 1,500 EUR (approximately 1,740 USD) was

made to a bar in Lisbon, Portugal from Bay First Bank account number XXXX-XXXX-XXXX-

8820 at 5:38am. On February 7, 2020, a transfer of 1,500 EUR (approximately 1,740 USD) was

made to a bar in Lisbon, Portugal from Bay First Bank account number XXXX-XXXX-XXXX-

8820 at 5:41am.

       8.      On February 7, 2020, a transfer of 1,500 EUR (approximately 1,740 USD) was

made to a bar in Lisbon, Portugal from Capital One account number XXXX-XXXX-XXXX-

1043 at 5:46am.

       9.      On February 7, 2020, a transfer of 1,500 EUR (approximately 1,740 USD) was

made to a bar in Lisbon, Portugal from and USAA account number XXXX-XXXX-XXXX-1555

at 5:51am. In order to determine why the transactions were made, Portuguese authorities

questioned the Automatic Payment Terminal (APT) users, also known as point-of-sale users,

Almeida and Lourenco regarding the transactions. However, the APT users were unable to give

a valid justification for the number, size, and timing of the transactions.

       10.     To further the investigation, Portuguese authorities have asked U.S. authorities to

provide bank records from Wells Fargo account number XXXX-XXXX-XXXX-6715, Citibank

account number XXXX-XXXX-XXXX-3071, Chase account number XXXX-XXXX-XXXX-

4214, Bay First Bank account number XXXX-XXXX-XXXX-8820, Capital One account

number XXXX-XXXX-XXXX-1043, and USAA account number XXXX-XXXX-XXXX-1555,

located in the United States.
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                                      LEGAL BACKGROUND

        11.     A treaty1 constitutes the law of the land. U.S. Const. art. VI, cl. 2. The provisions

of a treaty have equal footing with acts of Congress and are binding on the courts. See Asakura

v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103 (1801);

United States v. Emuegbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a treaty

should be construed liberally “to give effect to the purpose which animates it.” United States v.

Stuart, 489 U.S. 353 (386) (1989) (internal quotations marks omitted). To the extent that the

provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty supersedes

the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).

        12.     When executing a treaty or non-treaty request for assistance from a foreign

authority, an attorney for the government may file an application to obtain any requisite court

orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

        Upon application, duly authorized by an appropriate official of the Department of
        Justice, of an Attorney for the Government, a Federal judge may issue such orders
        as may be necessary to execute a request from a foreign authority for assistance in
        the investigation or prosecution of criminal offenses, or in proceedings related to
        the prosecution of criminal offenses, including proceedings regarding forfeiture,
        sentencing, and restitution.

                        *                       *                       *

        [A]n application for execution of a request from a foreign authority under this
        section may be filed . . . in the District of Columbia.

                        *                       *                       *


1
 The term “Treaty” used herein encompasses bilateral treaties, multilateral conventions, instruments, and
protocols.
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        The term “foreign authority” means a foreign judicial authority, a foreign
        authority responsible for the investigation or prosecution of criminal offenses or
        for proceedings related to the prosecution of criminal offenses, or an authority
        designated as a competent authority or central authority for the purpose of making
        requests for assistance pursuant to an agreement or treaty with the United States
        regarding assistance in criminal matters.

18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

        13.     Congress enacted this section to make it “easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme.” 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

2086.2 This section provides clear authority for the federal courts, upon application duly

authorized by an appropriate official of the Department of Justice, to issue orders that are

necessary to execute a foreign request.

        14.     An application is duly authorized by an appropriate official of the Department of

Justice when the Office of International Affairs3 has reviewed and authorized the request, and

executes the request itself or delegates execution to another attorney for the government.4 Upon


2 Prior to the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the “commissioner” process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §
3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were executed prior to enactment of section 3512); see also Intel Corp. v. Advanced Micro Devices, Inc.,
542 U.S. 241, 247-49 (2004) (describing history of Section 1782). When enacting Section 3512,
Congress anticipated that improved U.S. handling of foreign requests would ensure reciprocity in
response to U.S. requests for assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093
(2009) (statement of Rep. Schiff).

3The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of International Affairs the authority to serve as the “Central Authority” under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81B and 81C (2018).

4
  “Section 3512 can be invoked only when authorized by OIA. . . . Such authorization occurs when an
attorney for the government, or his or her office, receives the referral of the request for execution from
OIA.” Memorandum from the Deputy Attorney General to Department of Justice Components (May 16,
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such a duly authorized application, Section 3512 authorizes a federal judge5 to issue “such orders

as may be necessary to execute [the] request,” including: (1) search warrants under Fed. R.

Crim. P. 41; (2) orders for electronic records under 18 U.S.C. § 2703; (3) orders for pen registers

or trap and trace devices under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the

taking of testimony or statements and/or the production of documents or other things. See 18

U.S.C. § 3512(a)(1)--(b)(1). In addition, a federal judge may order any necessary procedures to

facilitate the execution of the request, including any procedures requested by the foreign

authority to facilitate its use of the evidence. 18 U.S.C. § 3512(a)(1).

    15.    Section 3512 also authorizes any person appointed to direct the taking of testimony or

statements and/or the production of documents. The appointed person has authority to: (1) issue

    an order requiring a person to appear and/or produce documents or other things; (2) administer

any necessary oaths; and (3) take testimony or statements and receive documents or other things.

     18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents or other

     things, the person appointed, commonly referred to as the “commissioner,” typically uses a

subpoena entitled “Commissioner’s Subpoena.” Any such subpoena may be served or executed

           anywhere in the United States. 18 U.S.C. § 3512(f). REQUEST FOR ORDER

          16.    The Office of International Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner to collect evidence and to take such other action as is

necessary to execute the Request has been “duly authorized” within the meaning of Section

3512. In addition, the Request was submitted by an appropriate “foreign authority,” the


2011) (on file with the Office of International Affairs).
5
  The term “federal judge” includes a magistrate judge. See 18 U.S.C. § 3512(h)(1); Fed. R. Crim. P.
1(b)(3)(B) (including a magistrate judge in the definition of federal judge).
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Prosecutor General’s Office in Portugal, and seeks assistance in the investigation of fraud – a

criminal offense in Portugal. The requested Order is necessary to execute the Request, and the

assistance requested, i.e., the production of bank records, falls squarely within that contemplated

by Section 3512 and the Treaty. Finally, this application was properly filed in the District of

Columbia.

       17.     This application is being made ex parte, consistent with U.S. practice in its

domestic criminal matters.

       18.     When executing a foreign request for assistance in a criminal matter, both Section

3512 and the Treaty authorize the use of compulsory process comparable to that used in

domestic criminal investigations and/or prosecutions. Because subpoenas utilized in U.S.

criminal proceedings (i.e., grand jury and criminal trial subpoenas) are issued without notice to

any person other than the recipient (i.e., no notice to targets or defendants), orders and

commissioner subpoenas issued in execution of a foreign request pursuant to Section 3512 and

the applicable treaty likewise should require no notice other than to the recipients. This is true

even if the Requesting State, as here, seeks financial records, because the Right to Financial

Privacy Act, 12 U.S.C. §§ 3401 et seq., including its notice provisions, does not apply to the

execution of foreign requests for legal assistance. Young v. U.S. Dept. of Justice, 882 F.2d 633,

639 (2d Cir. 1989), cert. denied, 493 U.S. 1072 (1990); In re Letters of Request from the

Supreme Court of Hong Kong, 821 F. Supp. 204, 211 (S.D.N.Y. 1993); In re Letter of Request

for Judicial Assistance from the Tribunal Civil de Port-Au-Prince, Republic of Haiti, 669 F.

Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this Court should authorize a commissioner to

collect the evidence requested without notice to any person(s) or entity(ies) other than the

recipient(s) of any given commissioner subpoena.
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       19.     Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Erica Laster,

Trial Attorney, Office of International Affairs (or a substitute or successor subsequently

designated by the Office of International Affairs) as a commissioner, authorizing the undersigned

to take the actions necessary, including the issuance of commissioner’s subpoenas, as needed, to

collect the evidence necessary to execute any pending request for assistance and any subsequent,

supplemental requests in connection with the same matter, in a manner consistent with the

intended use of the evidence.

                                              Respectfully submitted,

                                             VAUGHN A. ARY
                                             DIRECTOR
                                             OFFICE OF INTERNATIONAL AFFAIRS
                                             OK Bar Number 12199


                                      By:     __________________________________________
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